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Case: 1:17-md-02804-DAP ‘Doc #: 5707 Filed: 10/25/24 1o0f1. PagelD #: 648905

RETURN OF SERVICE
Court: UNITED STATES DISTRICT COURT FOR’ THE NORTHERN DISTRICT OF OHIO
Case No.: 12:17-MD-02804-DAP.
Plaintiff: In'Re: National Prescription Opiate Litigation
Defendant:
1 Rael Thain , Being duly sworn on-oath, depose and say the following:

Lam over the age of 18, not 4 party to this action, and an employee/agent of Elite Process Serving and Investigations,
Inc., a licensed private detective agency, license number 117-001 199. I futther acknowledge that f am authorized to
effectuate service of process in the State of _ Meu ov...

of Process: Subpoena to Produce Documents; Information, ot Objects or to Permit Inspection of Premises in
a Civ on

Defendant to be served: Caremark, L.L.C., c/o CF-Corporation System
Address where atternpted or served: 28 Liberty Street, New York, NY 10005
Onl | wg |. at _[osPaw _, IY Served () Non-served the within named defendant in the following manner:

INDIVIDUAL SERVICE: By delivering a copy ofthis process to the within named Deferidant personally.

% CORPORATE SERVICE: By leaving a copy of this process with _Vintewsa Cipnane
(Tithe)-Agonk So Seance, a person anthorized to accept service and informed the person-of the contents thereof.

SUBSTITUTE SERVICE: By leaving a copy of this process at his/her usual place of abode with

: __’ Relationship) + & person residing therein who is the age of 13 years or
upwards and informed that person of the:contents thereof-and that further mailed-a copy. of this process in-a sealed
enivelopé-with postage paid addresséd to the defendant at his/her usual place of abode on » 2024,

NON SERVICE: I have been utiable to effect service because of the following reasoii(s):

Description of person process ‘was left with:
Sex:__E__ Race: hike Hair <Plwle Approx. Age: SS-¥5_ Height, 5255'S _ Weight. (S0<190
‘Comments:

Kdeclare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service is true and correct.

__ FURTHER AFFIANT SAYETH NOT. e i?

Staeof Mew Yele releal ts.
County of ergs - (Exéciited on)
Subscribed'and Sworm to before me on this

1h ayor Grobe wit
of Notary Public

Job: 657648 shed M. Elwesti
File: 1077795 : NOTARY PUBLIC, STATE OF NEW YORK
Registration No, QTELG391019
Qualified is Kings County
Commission Expires 09/29/2027

